                                 Case 1:01-cv-12257-PBS Document 7106-1 Filed 05/11/10 Page 1 of 3
                                                                     EXHIBIT"A"
                                  VENͲAͲCARE'SEXHIBITLIST(MedicareͲOnly)ͲCivilActionNo:05Ͳ11084ͲPBS,MDL1456

                                                                                                                   Beginning
Trial     Date of                                                                                      Depo.       Bates       Intent to               j
Exhibit # Document   Title or Brief Description                                                        Exhibit No. Number      offer       Objection
                     letter to Pete Stark (Congress) from Donna Shalala (HHS) responding to
                     Stark’s letter regarding drug company pricing in the Medicare Program related                VAC MDL
00897    11/20/95    to brand and generic product pricing.                                                        64628        may
                     fax to Ven-A-Care from Bill Vaughn (assistant to Pete Stark of Congress)
                     attaching 12/15/97 letter to June Gibbs Brown (OIG) from Pete Stark
                     (Congress). The fax asks Ven-A-Care if the letter to June Gibbs Brown is                     VAC MDL
00898    12/15/97    accurate and okay to send.                                                                   64445 - 64447 may
                     letter to June Gibbs Brown (OIG) from Pete Stark (Congress) passing on
                     example of why Medicare should not rely on published AWP. This copy was
                     faxed to Ven-A-Care from Bill Vaughn (assistant to Pete Stark of Congress) on                VAC MDL
00899    12/15/97    12/16/97.                                                                                    64444        may
                     fax to Bill Vaughn (Congress) from Zach Bentley (Ven-A-Care) attaching a
                     draft letter to Nancy Ann Min DeParle (HCFA) from Pete Stark (Congress) re:
                     HCFA’s Proposed Methodology Revision for Payment of Drugs and                                VAC MDL
00900    06/01/98    Biologicals .                                                                                64343 - 64346 may
                     fax Bill Vaughn (Congress) from Zach Bentley (Ven-A-Care) attaching a draft
                     l
                     letter to Nancy Ann Min i DeParlel ((HCFA)) ffor Pete Stark’s
                                                                               k signature
                                                                                   i            i
                                                                                           re: First
                     Data Bank’s agreed reporting of more accurate prices in calculating                          VAC MDL
00901    04/20/99    reimbursement amounts.                                                                       64261 - 64264 may

                     letter to Nancy Ann Min DeParle (HCFA) from Pete Stark (Congress) re:                        VAC MDL
00902    04/06/00    making sure Medicare does not pay more for out-patient drugs than Medicaid.                  64194        may
                     04/06/00 letter to Chris Jennings (White House Domestic Counsel) from Pete
                     Stark (Congress) attaching 04/06/00 letter to Nancy Ann Min DeParle from
                     Pete Stark re: making sure Medicare does not pay more for out-patient drugs                  VAC MDL
00903    04/06/00    than Medicaid                                                                                64192 -64193 may

                     letter to Ruedi Waeger (Aventis) from Tom Bliley (Congress) regarding                        VAC MDL
00904    05/04/00    pricing practices.                                                                           70935 - 70938 may




                                                                           Page1
                                 Case 1:01-cv-12257-PBS Document 7106-1 Filed 05/11/10 Page 2 of 3
                                                                     EXHIBIT"A"
                                  VENͲAͲCARE'SEXHIBITLIST(MedicareͲOnly)ͲCivilActionNo:05Ͳ11084ͲPBS,MDL1456

                                                                                                                Beginning
Trial     Date of                                                                                   Depo.       Bates       Intent to               j
Exhibit # Document   Title or Brief Description                                                     Exhibit No. Number      offer       Objection

                     letter to Jansen Kraemer (Baxter) from Tom Bliley (Congress) regarding                    VAC MDL
00905    05/04/00    artificially inflated reimbursement rates.                                                70939 - 70943 may

                     letter to Charles Rice (Dey) from Tom Bliley (Congress) regarding pricing                 VAC MDL
00906    05/04/00    practices.                                                                                70944 - 70947 may



                     letter to George Morrow (Glaxo) from Tom Bliley (Congress) regarding                      VAC MDL
00907    05/04/00    artificially inflated reimbursement rates.                                                70948 - 70952 may

                     letter to Jan Leschly (SmithKline) from Tom Bliley (Congress) regarding                   VAC MDL
00908    05/04/00    artificially inflated reimbursement rates.                                                70953 - 70956 may

                     letter to Thomas Watkins (Tap) from Tom Bliley (Congress) regarding pricing               VAC MDL
00909    05/04/00    practices.                                                                                70957 - 70959 may
                     letter to Donna Shalala (HHS) from Tom Bliley (Congress) regarding                        VAC MDL
00910    05/05/00    excessive reimbursement rates that the Medicare program is paying.                        70933 - 70934 may
                     letter to Alan F. Holmer (PhRMA) from Pete Stark (Congress) re: certain
                     PhRMA members are employing false and fraudulent marketing schemes and                    VAC MDL
00911    09/28/00    other deceptive business practices.                                                       64099 -64108 may

                     letter to Ray Gilmartin (Merck & Co) from Pete Stark (Congress) re:
                     Congressional investigations have revealed that certain drug companies are                VAC MDL
00912    10/10/00    employing false marketing schemes and other deceptive business practices.                 64842        may
                     letter to Miles White (Abbott) from Pete Stark (Congress) regarding
                     Congressional investigation revealing that Abbott has reported and published              VAC MDL
00913    10/31/00    inflated and misleading drug price data.                                                  64847 - 64854 may




                                                                          Page2
                                 Case 1:01-cv-12257-PBS Document 7106-1 Filed 05/11/10 Page 3 of 3
                                                                     EXHIBIT"A"
                                  VENͲAͲCARE'SEXHIBITLIST(MedicareͲOnly)ͲCivilActionNo:05Ͳ11084ͲPBS,MDL1456

                                                                                                                  Beginning
Trial     Date of                                                                                     Depo.       Bates       Intent to               j
Exhibit # Document   Title or Brief Description                                                       Exhibit No. Number      offer       Objection
                     letter to Pete Stark (Congress) from Raymond V. Gilmartin (Merck & Co.)
                     responding to Stark’s 10/10/00 letter regarding drug company pricing practices              VAC MDL
00914    11/01/00    and industry standards.                                                                     64844 - 64845 may




                                                                          Page3
